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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

UNITED STATES SECURITIES AND EXCHANGE

 

COMMISSION, Civil No. 3:15cv675 (JBA)
Plaintiff,
v.

JFTIKAR AHMED, May 21, 2019

Defendant, and

IFTIKAR ALI AHMED SOLE PROP; I-CUBED
DOMAINS, LLC; SHALINI AHMED; SHALINI
AHMED 2014 GRANTOR RETAINED ANNUNITY
TRUST; DIYA HOLDINGS LLC; DIYA REAL
HOLDINGS, LLC; LI. 1, a minor child, by and through
his next friends IFTIKAR and SHALINI AHMED, his
parents; I.I. 2, a minor child, by and through his next
friends IFTIKAR and SHALINI AHMED, his parents;
and I.I. 3, a minor child, by and through his next
friends IFTIKAR and SHALINI AHMED, his parents,

Relief Defendants.

 

 

RULING ON MOTIONS TO LIFT LITIGATION STAY

Non-party NMR e-tailing, LLC (“NMR”) and non-party Oak Management Corporation
(“Oak”) move separately for orders lifting the litigation stay imposed by the Order Appointing
Receiver ({[Doc. # 1070]). For the reasons that follow, both NMR’s Motion to Intervene and Lift
Litigation Stay [Doc. # 1097] and Oak’s Motion to Lift Litigation Stay [Doc. # 1132] are granted.

I. Background

On December 20, 2018, Jed Horwitt, Esq. of Zeisler & Zeisler, P.C. was appointed to serve

as receiver for the assets subject to the Court’s ongoing asset freeze order to “value the frozen assets

and avoid over-freezing, to secure the judgment for the SEC, to manage and maximize the value
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of frozen assets under the guidance of a neutral third party, and to take necessary steps toward
effectuating the judgment.” (Order Appointing Rec. [Doc. # 1070] at 5.) In the Order Appointing
the Receiver, the Court imposed a stay of “[a]ll civil legal proceedings of any nature .. . to obtain
possession of property of the Receivership Estate, wherever located . . . [or] against any of the
Defendants, including any wholly-owned owned subsidiaries and partnerships in which a
Defendant is a general partner.” (Id. at 13.)

A. NMR e-tailing, LLC

Non-party NMR “was formed in 2013 by a group of investors for the purpose of investing
in” an entity which is “referred to in this case as ‘Company C.” (Mem. Supp. NMR Mot. [Doc. #
1097] at 1.) “[B]ased on facts and circumstances surrounding NMR’s investment in Company C,”
NMR “filed a lawsuit against Oak Investment Partners and its managing members, Oak
Management Corporation, Oak Investment Partners XII, LP, and Oak Associates XIII, LLC
(collectively, ‘OIP’), and Iftikar Ahmed (‘Ahmed’) in the Supreme Court of the State of New York,
County of New York,” on October 18, 2017 (the “New York action”). (Id.) NMR seeks damages on
claims of fraudulent misrepresentation and concealment, fraudulent inducement, gross
negligence, negligent misrepresentation, grossly negligent supervision, and general partnership
liability. (Id. at 1-2.)

Judgment entered against Mr. Ahmed in that case “on the issue of liability as a result of his
failing to answer or otherwise respond to NMR’s Complaint,” and Mr. Ahmed “has not
participated in any way in” the New York action. (Id. at 2.) “NMR has not taken any action to
liquidate or collect its default against Ahmed at this juncture” but expects to be “involv[ed] in the
Fair Funds process as a victim of Ahmed’s conduct.” (Id.) NMR’s claims against Mr. Ahmed in the

New York action are therefore “isolated from its remaining claims against OIP,” which have

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“proceeded with discovery” and have a trial date of December 2, 2019 set by the New York court.
(Id.) The parties in that case have “engaged in written discovery, produced thousands of
documents, attended several compliance conferences to resolve discovery disputes, and,
importantly, negotiated a detailed scheduling order, which was approved by the [New York]
Court.” (Id.)

NMR moves to intervene “in this matter for the limited purpose of lifting the existing
litigation stay in order to continue” litigating the New York action “to continue its pursuit of claims
against” Oak entities which are not parties to the instant case. (NMR’s Mot. to Intervene and Lift
Stay [Doc. # 1097] at 1.) NMR intends the New York action to “proceed against OIP” and does not
seek leave to litigate against Mr. Ahmed. (Mem. Supp. NMR Mot. at 2-3.)

B. Oak Management Corporation

Oak Management Corporation was Mr. Ahmed’s employer “from early 2004 through May
18, 2015.” (Mem. Supp. Oak Mot. [Doc. # 1133] at 2.) Oak moves to lift the litigation stay “so it
may commence an arbitration proceeding against Ahmed to recover the damages it suffered as a
result of’ his conduct. (Id.) Specifically, Oak “intends to bring claims in an AAA arbitration for
breach of fiduciary duty, breach of contract and the covenant of good faith and fair dealing, and
common law fraud.” (Id.) Oak represents that the “conduct that serves as the basis of [its] claims
is largely the same conduct that” underlies this case. (Id. at 2-3.) Oak “seeks compensatory damages
in an amount not less than $20 million, plus interest; consequential damages in an amount not less
than $15 million, plus interest; punitive damages in the amount to be determined at the arbitration
hearing and such other relief as the arbitrator deems just and equitable.” (Id. at 3.) Oak explains

that these “damages were not sought by, or awarded to, the SEC in its action against Ahmed.” (Id.)
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II. Discussion
“(District courts may appoint receivers as part of their broad power to remedy violations
of federal securities laws,” and “(a]n anti-litigation injunction is simply one of the tools available
to courts to help further the goals of the receivership.” S.E.C. v. Byers, 609 F.3d 87, 92 (2d Cir.
2010). “The modification of a litigation stay is subject to a three-pronged test first articulated by
the Ninth Circuit in Wencke,” which

identified three factors for determining whether, in a receivership context, an
injunction against litigation should be lifted: ‘(1) whether refusing to lift the stay
genuinely preserves the status quo or whether the moving party will suffer
substantial injury if not permitted to proceed; (2) the time in the course of the
receivership at which the motion for relief from the stay is made; and (3) the merit
of the moving party’s underlying claim.’

S.E.C. v. Ilaramendi, No. 3:11CV78 (JBA), 2012 WL 234016, at *4 (D. Conn. Jan. 25, 2012)
(quoting S.E.C. v. Wencke, 742 F.2d 1230, 1231 (9th Cir. 1984)). “The first Wencke factor balances
the interests of the Receiver in preserving the status quo against the interests of the moving party.”
Id. at *5. To satisfy the third factor, the movant need only have a “colorable claim that entitle|s|
them to a trial on the merits,” and courts should nol allempt to “decide the merits” of the movant’s
claim when considering a motion to lift a litigation stay. Wencke, 742 F.2d at 1232. “The burden is
on the movant to prove that the balance of the factors weighs in favor of lifting the stay.” Id. at *4
(internal quotation omitted).
A. NMR e-tailing, LLC

NMR argues that all three Wencke factors support its motion to lift the litigation stay.
(Mem. Supp. NMR Mot. at 4.) The Receiver “takes no position as to” NMR’s motion because it
does “not impact the Receiver’s ability to complete his duties under the Order Appointing

Receiver” given that “NMR seeks relief to proceed against parties other than the Defendant and

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Relief Defendants.” (Stmt. of Rec. re. NMR [Doc. # 1115] at 1-2.) The SEC does not oppose NMR’s
motion. (NMR’s Mot. at 2.) Defendant and Relief Defendants oppose NMR’s motion. (Def.’s Opp.
to NMR [Doc. # 1114]; Rel. Defs.’ Opp. to NMR [Doc. # 1116].) Mr. Ahmed asks that NMR’s
motion be denied “until (i) the value of the Defendant’s non-forfeited assets have been properly
determined via an evidentiary hearing; and (ii) the Second Circuit Court of Appeals has decided
on the Defendant’s appeal with respect to all of his assets at Oak since before the commencement
of the Asset Freeze, whether deemed forfeited by this esteemed Court or not.” (Def.’s Opp. to NMR
at 6.) Relief defendants ask that NMR’s motion be denied “until such time as the Court and the
Receiver have made a determination as to the assets for securing the judgment and also have
released the excess of what is needed to secure the judgment.” (Rel. Defs.’ Opp. to NMR at 2.)

First, NMR argues that lifting the stay to permit the New York action to proceed “will not
affect the status quo of the receivership” because “OJP is not a defendant in the instant case and
OIP does not have any assets frozen under the Receiver’s control.” (Mem. Supp. NMR Mot. at 4.)
“NMR’s requested lift of the litigation stay . . . is limited to its pursuit of claims against non-parties,”
(NMR’s Reply [Doc. # 1118] at 1), and “NMR’s claims, with respect to OIP, do not seek to disturb
the frozen assets under the Receiver’s control,” (Mem. Supp. NMR’s Mot. at 4).

Mr. Ahmed disputes that he is “a proper party” to the New York action because he “has
never been served any papers nor was he made aware of any pending litigation against him in any
state court.” (Def.’s Opp. to NMR at 1.) Because the litigation stay applies to actions seeking assets
of the Receivership Estate and actions against the Defendant, Mr. Ahmed’s contention, if accurate,
would actually weigh in favor of NMR’s motion.

Mr. Ahmed argues next that NMR’s position that there is a “clear distinction between

NMR’s claims against OIP and the assets controlled by the Receiver,” (Mem. Supp. NMR’s Mot. at

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5), is “entirely false” for several reasons, (Def.’s Opp. to NMR at 2-6). Mr. Ahmed represents that
he “has substantial interests at Oak — by way of significant assets belonging to the Defendant in the
possession of Oak including assets that are deemed forfeited and those that are deemed non-
forfeited by this esteemed Court — that would be directly implicated by [] NMR’s request.” (Id. at
2.) Because these “non-forfeited Oak assets are under the Receivership Order and are part of the
Receiver Estate,” Mr. Ahmed argues, the Receiver is tasked with “making sure that the[ir] value”
is “managed and maximized.” (Id. at 3.) Moreover, Defendant argues, “[t]here is a material dispute
of fact surrounding Defendant’s Oak non-forfeited assets and such value must be determined via
evidentiary hearing,”' which he argues must be decided before any “interference from non-
parties.” (Id. at 3-4.) Mr. Ahmed argues that any “litigation that threatens the determination of this
value impacts the judgment amount rendered against the Defendant (and Relief Defendants).” (Id.
at 4). He also argues that “any assets deemed to have been forfeited by this Court” including those
held by Oak “are now under the jurisdiction of the Second Circuit Court of Appeals.” (Id.)
Defendant concludes that “[c]ontrary to NMR’s assertions, Oak has assets belonging to the
Defendant that are currently frozen and under this Court’s Receivership Order.” (Id. at 5.)

Relief Defendants make a similar argument, noting that the “value of the non-forfeited Oak

assets (which this Court has ruled can be used to satisfy judgment) has not yet been clearly

 

! Mr. Ahmed misrepresents the Court’s position on this issue by stating that the “esteemed
Court explicitly agreed with the Defendant” that an evidentiary hearing is necessary. (See Def.’s
Opp. to NMR at 3-4.) Defendant cites the Court’s effort to understand Mr. Ahmed’s argument,
which does not constitute an “explicit[] agree[ment]” with that argument. (See Tr. of Nov. 9, 2018
Hearing at 16:16-19 (“THE COURT: Okay. So the valuation of assets that Oak holds is a disputed
issue that will require an evidentiary hearing; is that what you're saying? THE DEFENDANT: Yes.
Yes, Your Honor.”))
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determined.” (Rel. Defs.’ Opp. to NMR at 2.) They suggest it would be a “waste of resources
(especially money and time) for the Receiver to have to defend these assets, as they would be
impacted by any litigation against Oak.” (Id.)

Defendant and Relief Defendants fail to explain, however, why assets “belonging to the
Defendant” which are held by Oak would be impacted by the continuation of the New York action
against Oak or would be in need of defending by the Receiver. Specifically, they do not offer any
support for the suggestion that, should NMR prevail against Oak in the New York action, Oak
could or would use assets which “belong[] to” Mr. Ahmed to pay any judgment against Oak simply
because “Oak has assets belonging to the Defendant.” (Id.) Given NMR’s explicit representation
that it does not seek “assets controlled by the Receiver,” (Mem. Supp. NMR Mot. at 5), and the
Receiver’s position that permitting the New York action to continue would not “impact [his] ability
to complete his duties under the Order Appointing Receiver,” (Stmt. of Rec. re. NMR at 1-2), which
include maintaining the assets of the Receivership Estate, Defendant and Relief Defendants’
argument that assets of the Receivership Estate will be impacted by the New York action is
unavailing.

NMR argues that it would “suffer substantial injury if the Pending New York Action is
prohibited from moving forward” because “considerable time, effort and expense have clearly been
invested in the Pending New York Action,” and “much of the work required to get [that] litigation
into its current advanced posture will be negated” if it is “forced to stop in its tracks.” (Mem. Supp.
NMR’s Mot. at 4.)

Mr. Ahmed responds that he “does not have an opinion on how much ‘time, effort, and
expense’ have been invested in the New York action, it is undisputable that much ‘time, effort and
expense’ have clearly been invested in this instant matter.” (Def.’s Opp. to NMR at 5 (internal

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citation omitted).) “Just as NMR wants ‘its day in court,” Mr. Ahmed argues, “so too does the
Defendant want his appeal to be heard at the earliest and all his Oak assets to be appropriately
credited towards any disgorgement award.” (Id.) But this argument fails to address the critical
question under the first Wencke factor: whether the movant would suffer substantial injury if the
litigation stay is not lifted. He makes no attempt to dispute that NMR would be prejudiced by a
lengthy delay in the New York action. (See generally Def.’s Opp. to NMR.)

Second, as to the “the time in the course of the receivership at which the motion for relief
from the stay is made,” NMR explains that “the timing of the instant Motion is inconsequential
because .. . there is no concern that [the] Receiver would be forced into court to defend or protect
the frozen assets” because NMR does not seek any assets under the Receiver’s control. (Id.) Neither
Mr. Ahmed’s nor the Relief Defendants’ opposition addresses this second factor. (See generally
Def.’s Opp. to NMR; Rel. Defs.’ Opp. to NMR)

“Where the motion for relief from the stay is made soon after the receiver has assumed
control over the estate, the receiver’s need to organize and understand the entities under his control
may weigh more heavily than the merits of the party’s claim.” Superior Motels v. Gould, 622 F.2d
1363, 1373-74 (2d Cir. 1980). Here, the receivership has been in place since December 2018. The
Receiver’s Report makes clear that he has had sufficient time to organize and understand the
entities now under his control. (Rep. of Rec. [Doc. # 1130].) Moreover, the Receiver does not
oppose NMR’s motion. (Stmt. of Rec. re. NMR at 1-2.)

Third, according to NMR, the “merits of NMR’s claims have been substantiated by the fact
that they have survived a motion to dismiss in the pending New York Action.” (Id.) Defendant
“cannot comment on the merits of NMR’s pending lawsuit in the NY state litigation.” (Def.’s Opp.

to NMR at 2.)
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All three Wencke factors weigh in favor of lifting the litigation stay. First, because NMR
does not seek assets of the Receivership Estate and the Receiver does not anticipate that the New
York action would impact the performance of his duties, maintaining the stay as to the New York
action is not necessary to preserve the status quo of the Receivership Estate. Given the advanced
posture of the New York action, NMR would likely suffer injury if that action were now stayed
indefinitely. In weighing the interests of the Receiver and the movant, this factor supports lifting
the stay. Second, the Receiver has had sufficient time to understand the assets of the Receivership
Estate and does not oppose NMR’s motion. Third, NMR appears to bring at least a colorable claim
in the New York action. The litigation stay imposed in the Order Appointing Receiver is lifted for
the limited purpose of permitting the New York action to proceed against the Oak entities named
as defendants in that case.

B. Oak Management Corporation

Oak argues that all three Wencke factors support its motion to lift the litigation stay. (Mem.
Supp. Oak Mot. at 3-5.) The Receiver represents that lifting the litigation stay as Oak requests
“do[es] not impact the Receiver’s ability to complete his duties under the Order Appointing
Receiver” because “OMC is not attempting to ‘disturb the asset freeze or take priority over the
SEC’s claim to any of the frozen assets.” (Stmt. of Rec. re. Oak [Doc. # 1144] at 2 (quoting Mem.
Supp. Oak Mot. at 40.) “Therefore, the Receiver takes no position as to the Motion at this time.”
(Id.) For the same reason, the SEC “does not object to Oak’s motion.” (SEC’s Resp. to Oak’s Mot.

[Doc. # 1145] at 2.) Mr. Ahmed opposes Oak’s motion (Def.’s Opp. to Oak [Doc. # 1143].) Relief

 

2 Oak points out that “[m]uch of Mr. Ahmed’s response focuses on topics that are not
relevant to assessing whether the Court should lift the litigation stay to permit OMC to commence

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Defendants also oppose Oak’s motion, arguing that Oak’s arbitration against Mr. Ahmed “should
be stayed until the time that the receivership is concluded, the pending appeals are resolved, and
the asset freeze is lifted.” (Rel. Defs.’ Opp. to Oak [Doc. # 1142] at 7.)?

First, Oak argues that its “arbitration will not disrupt the status quo of the receivership”
because it “does not seek to disturb the asset freeze or take priority over the SEC’s claim to any of
the frozen assets” and because the arbitration will not “require the Receiver to expend any
additional time or money since the arbitration does not involve any issue germane to the Receiver’s
duties.” (Mem. Supp. Oak’s Mot. at 3-4.) Oak concludes that its arbitration “can move forward in
parallel with the receivership while allowing the Receiver to fulfill its duties without interruption.”
(Id. at 4.)

As in his opposition to NMR’s motion, Mr. Ahmed discusses at length the “non-forfeited
and allegedly forfeited assets” which are held by Oak. (Def.’s Opp. to Oak at 5-8, 10.) Relief
Defendants make a similar argument, contending that “Oak has not met its burden of satisfying
the” Wencke test “especially since the value of non-forfeited Oak assets (which this Court has ruled

can be used to satisfy judgment) have not yet been determined and there can be little doubt that

 

an arbitration against him.” (Oak’s Reply [Doc. # 1154] at 1.) The Court addresses herein only
those arguments by Defendant which are relevant under Wencke.

3 Relief Defendants also moved for leave to file a response to the SEC’s response to Oak’s
motion. (See Rel. Defs.’ Mot. for Leave to File [Doc. # 1158].) That motion is granted to permit
Relief Defendants the opportunity to respond to new legal arguments not raised in Oak’s motion.
However, Relief Defendants’ filing focuses entirely on the portion of the SEC’s response which
indicates that the SEC “has no objection to a process by which third parties may seek to secure any
‘residual assets’ prior to their release to Defendant or Relief Defendants,” (SEC’s Resp. to Oak.’s
Mot. at 2; see Ex. A (Rel. Defs.’ Proposed Opp.) [Doc. # 1158-1]), which is not relevant to this ruling
on the motions to lift the litigation stay. The Court therefore does not address herein the additional
arguments made by Relief Defendants in their response to the SEC.

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these assets would most likely be impacted by an arbitration between Oak and Mr. Ahmed.” (Rel.
Defs.’ Opp. at 2.) But as with the New York action, Defendant and the Relief Defendants fail to
explain how, when Oak “is not attempting in any way to disturb the asset freeze or take priority
over any claim by the SEC to any of the frozen assets,” (Oak’s Reply at 2), Oak’s arbitration could
disturb the status quo of any assets of the Receivership Estate, especially in light of the Receiver’s
position that Oak’s arbitration will not impact his ability to perform his duties.

Oak also argues that it “stands to suffer substantial injury if prevented from bringing an
action against Ahmed at this time” because it would “face[] the prospect of being unable to satisfy
any future award it wins against Ahmed because the frozen assets available to it to secure that
award” are the “sole known source of any recovery against Ahmed” and will “likely be dissipated”
once the asset freeze in this case is lifted. (Id.) Oak explains that “to the extent that there will be an
overage,” i.e. assets of the Receivership Estate which will not be necessary to satisfy the judgment
against Mr. Ahmed, “once the SEC’s judgment is satisfied and if the freeze is lifted, the risk of
dissipation is a certainty given Ahmed’s status as a fugitive from justice.” (Oak’s Reply at 3.) In
order to “have standing to seek prejudgment relief to protect against dissipation,” Oak argues, “its
arbitration must be filed and pending” before those assets are dissipated. (Id.)

Mr. Ahmed responds that all his “assets continue to be frozen,” and so “there can be no
danger of “dissipation.” (Def.’s Opp. to Oak at 3; see also Rel. Defs.’ Opp. to Oak at 2 (arguing that
Oak’s concern of dissipation is “belied” by the current asset freeze).) This argument runs contrary
to Defendant’s and Relief Defendants’ repeated requests to this Court to release funds from the
asset freeze and to the Court’s stated intention to “value the assets and avoid over-freezing” after

“secur[ing] the judgment for the SEC.” (Order Appointing Rec. at 5.)

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Second, Oak argues that the time in the course of the receivership also weighs in favor of
granting its motion because “the Receiver has been working toward organizing and understanding
the assets and entities under his control for months and has now submitted a report outlining its
findings and recommendations” and because the arbitration would “in no way distract from the
Receiver’s continuing efforts . . . since the arbitration will not involve the Receiver in any way.”
(Mem. Supp. Oak Mot. at 4.)

Mr. Ahmed argues that the “Receivership has recently commenced” and “[a]ny action by
Oak, contrary to their statements, directly distracts the Receiver from understanding these
interests.” (Def.’s Opp. to Oak at 6-7.) Similarly, Relief Defendants argue that “because the Receiver
was recently appointed a short time ago... and has not completed his assigned tasks[,] .. . it would
be premature and inappropriate to grant Oak’s motion.” (Rel. Defs.’ Opp. at 5.) The Receiver
disagrees, explaining that permitting Oak’s arbitration would “not impact [his] ability to complete
his duties under the Order Appointing Receiver.” (Stmt. of Rec. re. Oak at 2.)

Third, Oak argues that its claim is meritorious, or at least sufficiently colorable, because
“the conduct underlying” its arbitration claims “is largely the same conduct at issue in this
proceeding and for which this Court has found for the SEC on liability, noting that the ‘record
demonstrates without question that Defendant’s fraud was directed towards [the OMC] Funds.”
(Mem. Supp. Oak. Mot. at 5 (quoting Ruling on All Parties’ Mots. for Summ. J. on Liability [Doc.
# 835] at 34).)

Mr. Ahmed “will not comment on the merits, or lack thereof, of Oak’s potential arbitration
against him, but to state for the record that the Defendant has submitted to this Court evidence to
support that Oak was contributorily negligent and was complicit in all of the allegedly fraudulent
transactions.” (Defs.’ Opp. to Oak at 2.) Relief Defendants argue that to find Oak’s claims

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sufficiently meritorious would “completely ignore[] the pendency of the Defendant’s and the Relief
Defendants’ appeals.” (Rel. Defs.’ Opp. at 7.) But it is not the role of this Court to decide the merits
of Oak’s claims against Mr. Ahmed. Rather, the Court need only determine whether Oak has a
“colorable claim” to bring against him. Wencke, 742 F.2d at 1232. Given this Court’s findings on
liability in this case, it cannot be said that Oak does not have a colorable claim against Mr. Ahmed.

All three Wencke factors weigh in favor of lifting the litigation stay. First, because Oak “is
not attempting in any way to disturb the asset freeze or take priority over any claim by the SEC to
any of the frozen assets,” (Oak’s Reply at 2), and the Receiver represents that granting Oak’s motion
would not impact his ability to perform his duties, maintaining the stay as to Oak’s desired
arbitration is not necessary to preserve the status quo of the Receivership Estate. Given the possible
dissipation of assets if and when the Court releases assets after the SEC’s judgment has been
secured, Oak would likely suffer injury if unable to timely commence its arbitration against Mr.
Ahemd. In weighing the interests of the Receiver and the movant, the first factor supports lifting
the stay. Second, the Receiver has had sufficient time to understand the assets of the Receivership
Estate and does not oppose Oak’s motion. Third, Oak appears to have at least a colorable claim
against Mr. Ahmed. Therefore, the litigation stay imposed in the Order Appointing Receiver is
lifted for the limited purpose of permitting Oak to pursue the arbitration it seeks to bring against

Mr. Ahmed.

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III. Conclusion
For the foregoing reasons, NMR’s Motion to Intervene and Lift Litigation Stay [Doc. #
1097] and Oak’s Motion to Lift Litigation Stay [Doc. # 1132] are GRANTED.

IT IS SO ORDERED.
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Fyngeond Arterton, U.S.D.J.

Dated at New Haven, Connecticut this 21st day of May 2019.

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